                Case 19-12355-LMI         Doc 11     Filed 03/01/19     Page 1 of 6



                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                         www.flsb.uscourts.gov



In re:                                                           Case No. 19-12355-LMI

MARTHA CANDELARIA                                                     Chapter 7


                Debtor (s)           /



         Attorney-Represented Debtor’s Verified Ex Parte Motion for Referral to
                          Mortgage Modification Mediation

         The Debtor files this Verified Ex Parte Motion for Referral to Mortgage Modification

Mediation (“Ex Parte Motion”) and requests the Court enter an Order Granting Debtor’s

Ex Parte Motion for Referral to Mortgage Modification Mediation” (“Ex Parte Order”)

referring Debtor and Seterus, Inc. (“Lender”) to Mortgage Modification Mediation

(“MMM”) and states as follows:

         1.    Debtor is an individual who has filed for bankruptcy relief under, or

               converted to, chapter 7 on February 22, 2019.

         2.    Debtor requests MMM for real property (“Property”) located at the following

               street address: 3355 East 3rd Ave. Hialeah, FL 33013; account number

               for this Property is 2274 (last four digits).

               a. The Property is (check one box):

                        the Debtor’s primary residence

                        not the Debtor’s primary residence

               b. Borrowers obligated on the promissory note and mortgage on the

                   Property are (check one box):


                                              Page 1 of 6
MMM-LF-01 (rev. 04/01/15)
               Case 19-12355-LMI      Doc 11    Filed 03/01/19    Page 2 of 6



                     Debtor only

                      Debtor and non-filing co-obligor/co-borrower/third party

                      Contact information for co-obligor/co-borrower/third party:

                      Name:_____________________________________
                      Address:___________________________________
                              ___________________________________
                      Telephone:_________________________________
                      email:_____________________________________


                     Other:

                      Name:_____________________________________
                      Address:___________________________________
                              ___________________________________
                      Telephone:_________________________________
                      email:_____________________________________


              c. If applicable, Debtor’s attorney has simultaneously filed with this

                  Motion the MMM Local Form “Third Party’s Consent to Attend and

                  Participate in Mortgage Modification Mediation” signed by each co-

                  obligor/co-borrower/third party listed above.

       3.     Debtor intends to (check all boxes that apply):

                  modify the mortgage on the Debtor’s primary residence.

                  modify the mortgage on Property that is not the Debtor’s primary

                  residence.

                  surrender the Property to the Lender.

       4.     Prior to filing this motion, Debtor remitted to Debtor’s attorney the required

              non-refundable portal submission fee in the amount of $40.00 and the




                                         Page 2 of 6
MMM-LF-01 (rev. 04/01/15)
               Case 19-12355-LMI      Doc 11      Filed 03/01/19   Page 3 of 6



              required non-refundable Document Preparation Software fee in the

              amount of $40.00 for a total fee of $80.00.

       5.     Prior to filing this motion, Debtor’s attorney completed Debtor’s information

              using the court-approved on-line program that facilitates the preparation of

              the Debtor’s loan modification package (“Document Preparation

              Software”) and has paid the $40.00 Document Preparation Software fee to

              the approved vendor. Debtor’s initial loan modification forms have been

              generated and are ready for signature and submission. Debtor’s attorney

              has also collected all of the required supporting documentation as

              required by the Document Preparation Software (such documentation and

              forms referred collectively to as “Debtor’s Prepared Package”) and is

              prepared to submit the supporting documentation along with the

              modification forms.

       6.     Prior to filing this motion, Debtor’s attorney has determined that:

                  Lender is registered with the approved Mortgage Modification

                  Mediation Portal (“MMM Portal”);

                  Lender is not registered. Debtor requests the Court require Lender to

                  register with the MMM Portal within seven days after entry of the

                  Order.

       7.     Debtor requests Lender consider (check as many boxes as applicable):

                  a HAMP or government sponsored loan modification

                  a conventional loan modification

                  a deed in lieu of foreclosure



                                         Page 3 of 6
MMM-LF-01 (rev. 04/01/15)
               Case 19-12355-LMI      Doc 11    Filed 03/01/19    Page 4 of 6



                  a state court consent in rem final judgment of foreclosure

                  surrender options

                  other: __________________________________________________

       8.     IF DEBTOR IS REQUESTING NON-RETENTION (SURRENDER)
              OPTIONS:
              a. Debtor will submit all additional documents required for surrender as

                  provided for on the MMM Portal.

              b. Debtor represents that the property has been listed for sale.

       9.     Prior to filing this motion, Debtor remitted the required mediator’s fee in the

              amount of $300.00 to Debtor’s attorney, unless the Debtor is seeking pro

              bono mediation under paragraph 11. Debtor understands and

              acknowledges that after the mediator is designated, the mediator’s fee is

              not refundable for any reason at any time.

      10.     Within seven days after filing the MMM Local Form “Debtor’s Notice of

              Selection of Mortgage Modification Mediator (or “Notice of Clerk’s

              Designation of Mortgage Modification Mediator”) or the Lender’s

              registration on the MMM Portal, whichever occurs later, Debtor’s attorney

              shall upload and submit through the MMM Portal, Debtor’s Prepared

              Package, together with any additional forms or documents which Lender

              may post on the MMM Portal, and pay a non-refundable MMM Portal

              submission fee in the amount of $40.00. In addition, the Debtor’s attorney

              will upload the Order to the MMM Portal as part of the submission of

              Debtor’s documentation.

      11.     Debtor’s attorney:


                                         Page 4 of 6
MMM-LF-01 (rev. 04/01/15)
               Case 19-12355-LMI      Doc 11    Filed 03/01/19   Page 5 of 6



                  will forward the mediator’s fee directly to the mediator within seven

                  days after designation of the mediator; OR

                  represents that the Debtor requests he/she be considered as a

                  candidate for pro bono mediation because the Debtor’s undersigned

                  attorney is representing the Debtor pro bono, or Debtor’s income is

                  less than 150% above the poverty level (see attached calculation).

      12.     Debtor consents to Lender communicating directly with Debtor’s attorney

              for any and all aspects of the mortgage modification mediation program.

      13.     [For chapter 7 debtors] Debtor understands and consents to this Court’s

              MMM procedures which require that, if the Debtor becomes otherwise

              eligible for entry of a discharge before the MMM process is completed, the

              Court shall delay issuance of the discharge until either an agreement is

              reached or the parties reach impasse as reflected in the Local Form "Final

              Report of Mortgage Modification Mediator".

   WHEREFORE, Debtor requests that the Ex Parte Motion be granted and for such

   other and further relief as this Court deems proper.




                                         Page 5 of 6
MMM-LF-01 (rev. 04/01/15)
               Case 19-12355-LMI    Doc 11    Filed 03/01/19   Page 6 of 6



                              DEBTOR’S VERIFICATION


Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury the foregoing is true and
correct on February 28, 2019.


                                                _/s/ Martha Candelaria

                                                Debtor: Martha Candelaria


                             CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a true and correct copy of the Debtor’s Ex Parte Motion for
Referral to Mortgage Modification Mediation was served by U.S, first class Mail, upon the
parties listed below on February 28, 2019.


                                                Respectfully Submitted,
                                                Del Pino Law Firm
                                                Attorney(s) for debtor
                                                900 W. 49th Street, Suite 422
                                                Hialeah Florida 33012
                                                P. (305) 362.6277
                                                F. (888) 327.2399
                                                mail@delpinolaw.com

                                                ___/s/ Haven Del Pino_
                                                Haven Del Pino, Esq.
                                                Florida Bar No. 88606


Copies to:

Suntrust Mtg. POB 85092 MC VA Wmrk 7952, Richmond, VA 22386
Selene Finance LP, 9990 Richmond Ave Ste 40. Houston TX 77042




                                       Page 6 of 6
MMM-LF-01 (rev. 04/01/15)
